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                     EXHIBIT 20
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EXHIBIT 20 TO PLAINTIFFS’ COMPLAINT – ’265 Patent, Exemplary Claims 1, 2, 15, and 19 – Example Product, Maxlite_U15.5T8SE240



 U.S. Pat. No. 9,897,265       Maxlite_U15.5T8SE240
 1. An LED tube lamp,          The Maxlite_U15.5T8SE240 is an LED tube lamp comprising the claimed elements, as set forth below. The
 comprising:                   Maxlite_U15.5T8SE240 has a light transmissive portion, a reinforcing portion and an end cap.
    a lamp tube, which
 includes a light              See Figs. 1 and 2, Maxlite’s LED Tube is a LED tube lamp, which comprises a transmissive portion, a light
 transmissive portion, a       board (including the reinforcing portion), and two end caps.
 reinforcing portion and an
 end cap;




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                                          End cap




                                                                                       Fig. 1

                                                                                                                         Lamp tube

                                          Transmissive portion




                                                                                                                Reinforcing portion

                                                                                       Fig. 2




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    an LED module,         The Maxlite_U15.5T8SE240 has an LED module, which includes an LED light source and an LED light strip.
 which includes an
 LED light source and      For example, in Figure 3, an LED module is included in the LED tube lamp, which comprises an LED light source and
 an LED light strip;       LED light strip.
 and


                                                                                                            LED light
                                                                                                             source

                                                                                                                               LED module

                                                                                                       LED light strip




                                                                                     Fig. 3
     a power supply        The Maxlite_U15.5T8SE240 has a power supply module, which includes a set of N electronic components operably
 module, which             interconnected to drive the LED light source.
 includes a set of N
 electronic components     For example, in Figures 4-1 and 4-2, a power supply module is included in the LED tube lamp, which comprises N
 operably                  electronics component operably interconnected to drive the LED chips (as the LED light source) on the light board.
 interconnected to
 drive the LED light
 source, wherein:


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                                     End cap
                                                                                  Power supply module




                                                       Fig. 4-1                                    Fig. 4-2



     the light           In the Maxlite_U15.5T8SE240, the light transmissive portion is fixedly connected to the reinforcing portion.
 transmissive portion is
 fixedly connected to    For example, in Figure 2, the light transmissive portion of the lamp tube is fixedly connected to the light board (as the
 the reinforcing         reinforcing portion) in the LED tube lamp:
 portion;




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                                      Transmissive portion




                                                                                                            Reinforcing portion

                                                                                     Fig. 2




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     the reinforcing    In the Maxlite_U15.5T8SE240, the reinforcing portion includes a platform and a bracing structure and the bracing
 portion includes a     structure is fixedly connected to the platform and holds the platform in place.
 platform and a bracing
 structure;             For example, in Figure 5, the SEM picture of LED light strip and reinforcing portion shows that the reinforcing portion
                        comprises a bracing structure and a platform and the bracing structure is fixedly connected to the platform and holds
     the bracing        the platform in place. The LED light strip is disposed on the platform.
 structure is fixedly
 connected to the
 platform and holds the
 platform in place;




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                                    LED light strip
                                    (Wiring layer)

                                                                                                                Platform


                                                                                                                               Reinforcing
                                                                                                                                portion

                                                                                                                Bracing
                                                                                                               structure




                                                                      Fig.5




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     the LED light          In the Maxlite_U15.5T8SE240, the LED light source is thermally and electrically connected to the LED light strip,
 source is thermally        which is in turn thermally connected to the reinforcing portion.
 and electrically
 connected to the LED       For example, in Figures 3 and 5, the LED light source is thermally and electrically connected to the LED light strip,
 light strip, which is in   which is in turn thermally connected to the reinforcing portion:
 turn thermally
 connected to the
 reinforcing portion;




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                                                                                                                LED light
                                                                                                                 source




                                   LED light strip
                                                                                          Fig. 3

                                                                                                                Platform


                                                                                                                               Reinforcing
                                                                                                                                portion

                                                                                                               Bracing
                                                                                                              structure




                                                                    Fig.5


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     the end cap is        The Maxlite_U15.5T8SE240 has an end cap attached to an end of the lamp tube.
 attached to an end of
 the lamp tube;            For example, Figure 1 shows the two end caps are respectively attached to two ends of the lamp tube.




                                                                                                                               Lamp tube

                                    End cap




                                                                                     Fig. 1


     the set of N          The Maxlite_U15.5T8SE240 has a set of N electronic components consisting of a first subset of X electronic
 electronic components     components, a second subset of Y electronic components and a third subset of Z components, where N is equal to
 consists of a first       X+Y+Z; the first subset of X electronic components is disposed on the LED light strip; the second subset of Y
 subset of X electronic    electronic components is disposed on the reinforcing portion; and the third subset of Z electronic components is
 components, a second      disposed on the end cap; and either X≠0 and Y≠0, or Z≠0, or exactly one of X, Y and Z is equal to 0.
 subset of Y electronic
 components and a          For example, Figures. 4-1, 4-2 and 4-3 show the electronic components are disposed in the end cap, and
 third subset of Z         1. X+Y+Z=N, and
 components, where N       2. the third subset of Z electronic components does not equal to zero (Z≠0)
 is equal to X+Y+Z;
     the first subset of
 X electronic
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 components is
 disposed on the LED                                                                           Power supply module
                                                         End cap
 light strip;                                                                                (N electronic components)
     the second subset
 of Y electronic
 components is
 disposed on the
 reinforcing portion;
     the third subset of
 Z electronic
 components is                              Fig. 4-3                   Fig. 4-1                                Fig. 4-2
 disposed on the end
 cap; and
     either X≠0 and Y
 ≠0, or Z≠0, or
 exactly one of X, Y
 and Z is equal to 0.


 2. The LED tube lamp See Claim 1. In the Maxlite_U15.5T8SE240, exactly one of X, Y and Z is equal to N and the power supply module
 of claim 1, wherein   is spaced as far apart as possible from the LED light.
 exactly one of X, Y
 and Z is equal to N   For example, in Figures 4-1, 4-2 and 4-3, all of the electronic components are disposed in an end cap and Z=N.
 and the power supply
 module is spaced as
 far apart as possible
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EXHIBIT 20 TO PLAINTIFFS’ COMPLAINT – ’265 Patent, Exemplary Claims 1, 2, 15, and 19 – Example Product, Maxlite_U15.5T8SE240

 from the LED light        The power supply module is positioned at the end of the lamp tube which is spaced as far apart as possible from the
 source.                   LED light source.


                                                                                               Power supply module
                                                         End cap
                                                                                             (N electronic components)




                                            Fig. 4-3                   Fig. 4-1                                Fig. 4-2




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 15. An LED tube           The Maxlite_U15.5T8SE240 is an LED tube lamp, comprising the claimed elements as set forth below. The
 lamp, comprising:         Maxlite_U15.5T8SE240 has a lamp tube, having a light strip disposed inside the lamp tube, a LED module disposed
 a lamp tube, having a     on the light strip, and the LED module comprising at least one LED light source.
 light strip disposed
 inside the lamp tube,     For example, Figures 1 and 6 show Maxlite’s LED tube lamp comprises a lamp tube. A light strip is disposed inside
 a LED module              the lamp tube. An LED module comprises at least one LED light source disposed on the light strip.
 disposed on the light
 strip, and the LED
 module comprising at
 least one LED light
 source,




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                                     End cap




                                                                                     Fig. 1

                                                                                                                     Lamp tube




                                                                                                            LED light
                                                                                                             source
                                                                                                                                  LED
                                                                                                            LED light strip      module



                                                                                     Fig. 6




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 wherein the lamp tube     The Maxlite_U15.5T8SE240 has a lamp tube comprising a light transmissive portion and a reinforcing portion, the
 comprises a light         reinforcing portion comprises a platform, and the light strip is disposed on the platform.
 transmissive portion
 and a reinforcing         For example, in Figures 3 and 5, the lamp tube comprises a light transmissive portion. The SEM picture of LED light
 portion, the              strip and reinforcing portion shows that the reinforcing portion comprises a platform. An LED light strip is disposed
 reinforcing portion       on the platform.
 comprises a platform,
 and the light strip is
 disposed on the
 platform;




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                                                                                                          Transmissive
                                                                                                            portion




                                    LED light strip

                                                                                                         Fig.3
                                                                                                                 Platform




                                                                                                            Reinforcing
                                                                                                             portion




                                                                      Fig.5




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    two end caps           The Maxlite_U15.5T8SE240 has two end caps attached to two ends of the lamp tube respectively
 attached to two ends
 of the lamp tube          Figure 1 shows two end caps are respectively attached to two ends of the lamp tube.
 respectively; and




                                     End cap                                                                                   Lamp tube




                                                                                     Fig. 1


    a power supply         The Maxlite_U15.5T8SE240 has a power supply module configured to drive the LED light source for emitting light,
 module configured to      wherein at least some electronic components of the power supply module are disposed in one of the two end caps or in
 drive the LED light       both of the two end caps
 source for emitting
 light, wherein at least   For instance, Figures. 4-1 and 4-2 show a power supply module is provided to drive the LED light source. The power
 some electronic           supply module has at least some electronic components disposed in one end cap or in both of the two end caps.
 components of the
 power supply module
 are disposed in one of
 the two end caps or in
 both of the two end
 caps.
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                                     End cap                                        Power supply module




                                                       Fig. 4-1                                    Fig. 4-2




 19. The LED tube          See Claim 15. In the Maxlite_U15.5T8SE240, the electronic components comprise a rectifying circuit, a filtering
 lamp according to         circuit, and a LED driving module, wherein the LED module is disposed inside the LED driving module, and wherein
 claim 15, wherein the     the LED driving module is coupled to an output terminal of the filtering circuit and configured to drive the LED light
 electronic components     source for emitting light.
 comprise a rectifying
 circuit, a filtering      For example, in Figure 7, the electronic components comprise a rectifying circuit, a filtering circuit, and a LED driving
 circuit, and a LED        module. The LED module is disposed inside the LED driving module and the LED driving module is coupled to an
 driving module,           output terminal of the filtering circuit and configured to drive the LED light source for emitting light.
 wherein the LED
 module is disposed
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 inside the LED
 driving module, and
 wherein the LED                                      Filtering circuit                  LED driving module
 driving module is
 coupled to an output
 terminal of the
 filtering circuit and                  Rectifying circuit                                                                           LED module
 configured to drive
 the LED light source
 for emitting light.




Annotations to the figures in this chart are preliminary and illustrative only, and are not final or intended to limit Plaintiffs’ identification of claim
elements in the accused products. Plaintiff may change, expand, modify or narrow its identification of claim elements in the accused products as
it develops further facts as a part of this action.




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